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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


ATLANTIC NEUROSURGICAL
SPECIALISTS and ATLANTIC SHORE
SURGICAL ASSOCS., PC,

      Plaintiffs,

      v.

ANTHEM, INC., d/b/a Anthem Blue
Cross Blue Shield, f/k/a WellPoint,
Inc.; ANTHEM INS. COS., INC., d/b/a
Anthem Blue Cross Blue Shield;
ANTHEM LIFE INS. d/b/a Anthem
Blue Cross and Blue Shield; ANTHEM
BLUE CROSS LIFE & HEALTH INC.
CO.; BLUE CROSS OF CALIFORNIA,              Civ. No. 21-20052 (KM) (CLW)
d/b/a Anthem Blue Cross;
COMMUNITY INS. CO., d/b/a                              ORDER
Anthem Blue Cross Blue Shield;
ANTHEM HEALTH PLANS OF
VIRGINIA, INC., d/b/a Anthem Blue
Cross and Blue Shield; ANTHEM UM
SERVS., INC., d/b/a Anthem Blue
Cross and Blue Shield; HIGHMARK
BLUE CROSS BLUE SHIELD
DELAWARE, a/k/a Highmark Health
Ins. Co.; SECURITAS SECURITY
SERVS. USA, INC.; VERIZON, INC.,
a/k/a Verizon Benefits Admin., Inc.,
a/k/a Verizon N.J. Inc.; SKANSKA
USA INC.; SKANSKA USA BLDG.
INC.; SIGNET FIN. MGNT., LLC;
CAMP SIX, INC.; et al.,
      Defendants.



      THIS MATTER having come before the court on plaintiffs’ motion (DE
20) to remand this matter to the Superior Court of New Jersey, Law Division,
Morris County, and for attorneys’ fees; and the Court having considered the
papers submitted in support and opposition to the motion (DE 20, 23, 24); and
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removing defendant Skanska having cross-moved to sever under Federal Rule
of Procedure 21 (DE 23) and plaintiffs having opposed that motion (DE 24); for
the reasons set forth in the accompanying Opinion, and for good cause shown;
      IT IS this 10th day of August 2022,
      ORDERED that Plaintiffs’ motion to remand (DE 20) is GRANTED; and it
is further
      ORDERED that this case be REMANDED to the New Jersey Superior
Court, Law Division, Morris County; and it is further
      ORDERED that Skanska’s cross-motion to sever (DE 23) is DENIED as
moot; and it is further
      ORDERED that Plaintiffs’ request for attorneys’ fees is DENIED.
      The Clerk shall close the file.
                                            /s/ Kevin McNulty
                                            ___________________________________
                                            Hon. Kevin McNulty
                                            United States District Judge
